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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MISSOURI
                            EASTERN DIVISION


UNITED STATES OF AMERICA,                     )
                                              )
                 Plaintiff,                   )
                                              )
                 v.                           )    No. 4:08CR496 CEJ
                                              )                 (FRB)
JAMES HAROLD ELLEGOOD,                        )
                                              )
                 Defendant.                   )


                          MEMORANDUM, ORDER,
                      REPORT AND RECOMMENDATION
                  OF UNITED STATES MAGISTRATE JUDGE


           All pretrial motions in the above cause were referred to

the undersigned United States Magistrate Judge pursuant to 28

U.S.C. § 636(b). The defendant James Harold Ellegood filed several

pretrial motions which are addressed herein.

     1.    Motion For Bill Of Particulars (Docket No. 70)

           The purpose of a bill of particulars is to apprise the

defendant of the nature of the charges against him and to prevent

undue surprise at trial.       United States v. Miller, 543 F.2d 1221,

1224 (8th Cir. 1976), cert. denied, 429 U.S. 1108 (1977).                However,

a bill of particulars is not a proper vehicle by which to seek to

obtain names of witnesses, evidentiary detail or the government's

theory of the case.       United States v. Largent, 545 F.2d 1039 (6th
Cir. 1976); United States v. Matlock, 675 F.2d 981, 986 (8th Cir.

1982). The indictment in this case is sufficiently precise that it

informs the defendant of the charge against him to enable him to

prepare a defense, to avoid the danger of surprise at trial, and to
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plead his acquittal or conviction as a bar to further prosecution

on the same offense.               Wong Tai v. United States, 273 U.S. 77

(1927).

             The defendant in his motion notes that several of the

allegations        in     the     indictment          refer       to    the    "defendants"

collectively as committing the offenses alleged.                          He requests that

the government be required to state whether he is the (or a)

defendant referred to in these allegations.                        He further avers that

without such information he will be unable to assist in his defense

and be informed of the charges against him.

             The indictment sets out in detail the offenses alleged.

Count 1 of the indictment alleges that each of the defendants

conspired and agreed with each other to commit various acts.                             Each

of   the    counts      also     alleges       that    the    violation        alleged   were

committed in violation of a cited substantive statute and in

violation of Section 2, Title 18, United States Code.                           Thus, a fair

reading of the indictment would show that each of the defendants is

alleged      to    have        committed        the     offenses         alleged,      either

individually, or by conspiring with, or aiding and abetting, other

defendants in so doing.             Thus the indictment gives fair and ample

notice to the defendant of the charges made against him.

             In his motion the defendant also requests that the

government be required to give him notice "as to what proof the

government        has     that     the     defendant          'knew'      or    did    things

'knowingly'."           This is precisely the kind of evidentiary detail

that   is   not    properly        the   subject       of     a   bill    of   particulars.


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Further, in its response to the defendant's motion the government

notes that substantial discovery has been provided to the defendant

in the form of written documents underlying the various charges.

Such disclosure also obviates the need for a bill of particulars.

United States v. Giese, 597 F.2d 1170, 1180 (9th Cir. 1979); United

States v. Kilroy, 523 F.Supp. 206, 211 (D.Wis. 1981).

            Therefore, the defendant's motion should be denied.

       2.   Motion To Suppress Statement (Docket No. 68)

            Testimony and evidence was adduced on the defendant's

motion at the hearing before the undersigned on November 13, 2008.

From the testimony and evidence adduced at the hearing                              the

undersigned makes the following findings of fact and conclusions of

law:

                             Findings of Fact

            On August 29, 2007, Stacey L. Jordan a Special Agent of

the U.S. Department of Health and Human Services, Officer of

Inspector General (HHS/OIG), applied for and obtained a warrant to

search premises located at 419 South 5th Street, DeSoto, Missouri.

The premises were the home of Dr. James H. Ellegood and his wife,

Wynsleen K. Ellegood.       The residence also served as the office out

of which Dr. Ellegood conducted the business of Physician Home

Services,   Inc.,   (PHS)    which      operated    as      a    home   health    care

provider.   The warrant authorized a search of the premises for, and

seizure of, records and other items related to the operation of the

business of PHS.     (See Government's Exhibit 2).



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            On August 30, 2007, Agent Jordan went to the DeSoto,

Missouri, area for the purpose of executing the search warrant.

She enlisted the assistance of the Jefferson County, Missouri,

Sheriff's Office in executing the search warrant. Agent Jordan was

aware   that    Dr.   James   Ellegood     had   a   previous       federal   felony

conviction for distribution of cocaine and anabolic steroids.                     She

also had received information that Dr. Ellegood's son was an

unlawful user of controlled substances.              For these reasons it was

suggested      by   Jefferson   County       Officials       that    it   would    be

appropriate for Officers of the Jefferson County Sheriff's Office

Narcotics Unit to participate in the search warrant execution.

            The Narcotics Unit intended to execute several search

warrants on August 30, 2007.             It was standard procedure for the

unit that when executing warrants that the officers would wear

tactical clothing and be armed with weapons.                 Because some of the

officers were engaged in ongoing undercover operations, those

officers also wore coverings over their faces in order to prevent

them from later being recognized as police officers by subjects of

undercover investigations.

            At approximately 7:00 a.m. on August 30, 2007, Agent

Jordan, other agents from HHS/OIG and the officers of the narcotics

unit went to 419 South 5th Street for the purpose of executing the

search warrant.       One of the narcotics unit officers knocked on the

door to the residence and Dr. Ellegood answered.                      Dr. Ellegood

asked the officer why they were at the residence and he was

informed that the officers had a warrant to search the premises.


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Dr. Ellegood and his wife stepped out of the residence and a

narcotics unit officer escorted them to a sidewalk area in front of

the residence.    A number of the narcotics unit officers and agents

of HHS/OIG, including Agent Jordan, then went into the residence

and looked about to see if there were any other persons, or any

visible weapons, inside the residence.               None were found and the

officers then left the residence. The narcotics unit officers then

all left the area to go about their other business of the day.                      A

uniformed   DeSoto,   Missouri,      police     officer      and    marked   police

vehicle remained in the area.           This initial entry and "sweep" of

the residence was very brief, lasting two or three minutes.

            Upon completion of the initial sweep Agent Jordan went to

the sidewalk area where Dr. and Mrs. Ellegood were standing.                      She

identified herself to them and displayed her credentials. She then

explained why the agents were there.            She told them what items the

agents were looking for and what they would be seizing.                    She also

gave Dr. Ellegood a copy of a "probable cause" statement which was

the probable cause statement that was a part of the search warrant

(See   Government's   Exhibit    2   -     Attachment       B).     She    told   the

Ellegoods that they could stay at the residence while the search

was being conducted or that they could leave if they chose to do

so.    She also told them that if they chose to leave the area they

would not be permitted to reenter the residence until the search

was completed.    Both Dr. and Mrs. Ellegood elected to remain at the

residence   while   the   search     was    conducted,       with    Dr.   Ellegood

stating, "I'm not leaving my house while you people are in there."

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Agent Jordan asked both Dr. Ellegood and Wynsleen Ellegood if they

would agree to be interviewed by the agents and they said that they

would not.    Agent Jordan therefore did not attempt to question

either of them nor did any other law enforcement official.                      Dr.

Ellegood asked if he could contact a lawyer and was told that he

was free to do so.

           Dr. and Mrs. Ellegood then went into the residence and

were escorted to the living room area.            They were told to remain in

the living room area while the search was being conducted.                    They

were told that if for any reason they wished to move from the

living room area for some reason they would be permitted to do so.

           Agent Mike Grasso of HHS/OIG was assigned to watch over

and assist the Ellegoods with any needs while the search was being

conducted.    He stood near the living room area where they were

located.   Agent Grasso did not question the Ellegoods, however, he

was able to hear some of the conversations between the Ellegoods

and others.     At one point Agent Grasso heard Dr. Ellegood make

several statements to Wynsleen Ellegood that he believed were

pertinent.    He made written notes of the statements and later

prepared a report setting out what he had heard.                  In his report

Agent Grasso noted that statements were made on August 30, 2007, at

approximately 7:21 a.m.      He quoted the statements in his report as

follows: "I over-billed Medicare because I wasn't there with the

nurse practitioners."      "This is a criminal offense.             Over-billing

Medicare is a criminal offense."             (See Government's Exhibit 1).

Dr. Ellegood appeared to be holding in his hand a copy of the


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probable cause statement provided to him by Agent Jordan at the

time these statements were made.                 Immediately after Dr. Ellegood

made these statements Wynsleen Ellegood told Dr. Ellegood to "be

quiet" and to not say anything further.                      During the search the

agents looked for          and examined numerous documents which were

located   in     various    parts    of    the    residence.         The    search   was

concluded       at   approximately    2:00       or   2:30   p.m.     The     Ellegoods

remained at the residence during the entire time.                      They were not

handcuffed or physically restrained in any way either before,

during or after the search.               They were permitted to go into the

bathroom and kitchen areas when they asked.                         Dr. Ellegood was

allowed to use his telephone.             He contacted several employees and

told them not to come to the office that day.                  He appeared at times

to be conducting business with patients over the telephone. At one

point he asked for a particular patient file to be retrieved and

brought to him in order that he could consult with the patient and

that was done.        Dr. Ellegood told the officers that he needed to

take his medications and he was permitted to do so.                        At one point

Dr. Ellegood appeared to be speaking on the telephone with an

attorney and inquiring about obtaining an attorney to represent

him.1   Dr. Ellegood appeared calm throughout the course of the day.

From time to time he engaged in casual conversation and chit chat



            1
           At some point a man arrived outside of the residence and
identified himself to Agent Jordan as an attorney. The man was
told that he could not enter the residence while the search was
being conducted. The man stood outside the residence for most of
the remainder of the time while the search was conducted.

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with Agent Grasso about Dr. Ellegood's dog and his collection of

baseball memorabilia.

            After the search was completed all of the law enforcement

officers left the residence.             Neither Dr. Ellegood or Wynsleen

Ellegood were arrested and they were left at the residence upon

completion of the search.

                                  Discussion

            As grounds to suppress the statements made by him, and

specifically the statements noted in Agent Grasso's report, the

defendant   avers     in   his   motion     that    the      statements    were    not

voluntary in that "defendant was not afforded counsel prior to or

during interrogation; the length and nature of defendant's custody,

and the duration and nature of defendant's interrogation and the

conditions under which it was conducted, were inherently coercive

as applied to a person of defendant's age, education, background

and physical and mental condition at the time such interrogation

occurred; and said statement was made without the defendant first

being fully advised of certain constitutional rights, under the

Fifth Amendment of the United States Constitution." The claims are

without merit.

            In Miranda v. Arizona, 384 U.S. 436 (1966) the Supreme

Court   held   that   before     questioning       a   person     in   custody     law

enforcement officials must advise the person that he has the right

to remain silent; that any statements he makes may be used against

him at trial; that he has the right to have an attorney present

during questioning; and that if he cannot afford an attorney one


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will be appointed for him.          Id. at 478-79.             The officials may

question   the    person    after    so      advising        him   if   the   person

voluntarily, knowingly and intelligently waives these rights and

agrees to answer questions put to him by the officials.                       Absent

such advice and waiver, statements obtained through interrogation

of a person in custody are not admissible against the person at

trial.   Id. at 479.

           The proscriptions of Miranda apply only when the person

questioned is "in custody" and subject to "interrogation" by law

enforcement officials.        Illinois v. Perkins, 496 U.S. 292, 297

(1990). A person is in custody within the meaning of Miranda when,

under the totality of the circumstances, "a suspect's freedom of

action is curtailed to a 'degree associated with formal arrest.'"

Berkemer v. McCarthy, 468 U.S. 420, 440 (1984); California v.

Beheler, 436 U.S. 1121, 1125 (1983).              "Interrogation" within the

meaning of Miranda is "express questioning or its functional

equivalent."     Rhode Island v. Innis, 446 U.S. 291, 300-01 (1980).

The "functional equivalent" of interrogation are "words or actions

on the part of [law enforcement officers] . . . that the [law

enforcement officers] should know are reasonably likely to elicit

an incriminating response from the suspect."                  Id. at 301.
           The statements made by the defendant here were not the

product of any interrogation by any law enforcement officer. Agent

Jordan asked the defendant shortly after the search was begun if he

would agree to an interview and the defendant declined.                        Agent

Jordan did not question the defendant further, nor did any other


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law enforcement officer. The statements made by the defendant were

volunteered by him and were overheard by Agent Grasso as he stood

nearby. Agent Grasso made note of the defendant's comments but did

not   follow-up     with       any    questions       to       the    defendant.            Such

spontaneous      volunteered         statements,         not     made    in    response       to

questioning,      are   admissible           even   in     the       absence       of   Miranda

warnings.     United States v. Hawkins, 102 F.3d 973, 975 (8th Cir.

1996), cert. denied, 520 U.S. 1179 (1997); United States v. McCoy,

200   F.3d   582,   584    (8th       Cir.    2000).        Further,         providing       the

defendant    a   copy     of    the    probable      cause       statement          which    was

submitted with the warrant, which set out the nature of the

offenses being investigated and the reasons for believing that

evidence of those offenses could be found in the residence does not

amount to the functional equivalent of interrogation.                                   United

States v. Wipf, 397 F.3d 677, 685 (8th Cir. 2005); Easley v. Frey,

433 F.3d 969, 973-74 (7th Cir. 2006).

             Nor was the defendant "in custody" within the meaning of

Miranda at the time the statements were made.                                In determining

whether a person was in custody at the time of questioning the

court must examine the objective circumstances surrounding the

interrogation, Stansbury v. California, 511 U.S. 318, 323 (1994),
and   to   determine      from       those    circumstances           "how     a   reasonable

(person) in the         suspect's position would have understood his

situation."      Berkemer v. McCarthy, 468 U.S. at 442.                        Miranda does

not apply if the person is not in custody, even if the person is

suspected of criminal activity or is a focus of the investigation.


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Oregon v. Mathiason, 429 U.S. 492, 495 (1977); Beckwith v. United

States, 425 U.S. 341, 345 (1976).               The defendant was told at the

beginning of the search that he was not required to remain at the

residence, but chose to do so, even though told the he would be

required to remain at the residence until the search was completed

if he chose to remain.              The defendant was not handcuffed or

otherwise restrained.        He was allowed to move about the residence

if he needed to do so.           He was allowed the use of a telephone

throughout    the   period     of   the    search.       Although     weapons     were

initially displayed by the officers at the beginning of the search,

none were being flourished by the officers during the remainder of

the search.   After the search was completed the agents and officers

left the residence.         Neither the defendant or his wife were ever

placed   under    arrest     before,      during    or   after    the   search     was

completed.       All   of   these    circumstances        demonstrate      that    the

defendant was not "in custody" at the time he volunteered the

statements at issue. United States v. Griffin, 922 F.2d 1343, 1349

(8th Cir. 1990).

           The defendant's statements were voluntary. In considering

whether a statement was voluntary, the determinative question is

whether the statement was extracted by threats, violence,                          or

promises (express or implied), such that the defendant's will was

overborne and his         or her capacity for self-determination was

critically impaired.        Sumpter v. Nix, 863 F.2d 563, 565 (8th Cir.
1988)(citing Culombe v. Connecticut, 367 U.S. 568, 602 (1961)). In

making this determination, courts look at the totality of the


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circumstances,    including     the     conduct     of      the   law   enforcement

officials and the defendant's capacity to resist any pressure.

United States v. Meirovitz, 918 F.2d 1376, 1379 (8th Cir. 1990),

cert. denied, 502 U.S. 829 (1991).           "Coercive police activity is a

necessary predicate to the finding that a [statement] is not

'voluntary'".     Colorado v. Connelly, 479 U.S. 157, 167 (1986).

"Absent police conduct causally related to the [statement], there

is simply no basis for concluding that any state actor has deprived

a criminal defendant of due process of law."                  Id. at 164.     At no

time prior to the defendant's statements did the officers engage in

any conduct that was so coercive as to overcome the defendant's

will to resist efforts by the officers to obtain a statement from

him.   He in fact declined their invitation to be interviewed and

the matter was not further pursued.

                                 Conclusion

           For all of the foregoing reasons the defendant's Motion

To Suppress Statement should be denied.



           According,

           IT IS HEREBY ORDERED that defendant's Motion For Bill Of

Particulars (Docket No. 70) is denied.

           IT IS HEREBY RECOMMENDED that the defendant's Motion To

Suppress Statement (Docket No 68) be denied.




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              The parties are advised that they have to and including

February 9, 2009, in which to file written objections to this

Report and Recommendation.           Failure to timely file objections may

result   in    waiver   of    the   right      to   appeal     questions    of   fact.

Thompson v. Nix, 897 F.2d 356, 357 (8th Cir. 1990).




                                            UNITED STATES MAGISTRATE JUDGE



Dated this 29th day of January, 2009.




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